Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 1 of 59




         Exhibit D-1
                              Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 2 of 59

                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,397,789


        This claim chart demonstrates NexTraq’s infringement of U.S. Patent No. 10,397,789 and provides notice of such infringement, by comparing
each element of the asserted claims to corresponding components, aspects, and/or features of the Accused Instrumentalities. These claim charts include
information provided by way of example, and not by way of limitation.
      “Accused Instrumentalities” as used herein refers to herein provide event-based notifications/alerts based on locations of fleets of vehicles,
equipment, objects, drivers, and other assets equipped with sensors or tags (the Assets).
       1. NexTraq offers the following tracking products and services (the Accused Instrumentalities), including but not limited to NexTraq® Fleet

Tracking solution (https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf), which provides data to

NexTraq® Web Services (http://www.discretewireless.com/resources/APIReference.pdf) for use in various platforms and solutions that support:


              (a)     NexTraq®’s Fleet Visibility and Productivity products, services and solutions which are used for vehicle tracking

                      (https://www.nextraq.com/services/vehicle-tracking/), asset tracking https://www.nextraq.com/services/asset-tracking/), geo-

                      fencing and mapping (https://www.nextraq.com/services/geofencing-mapping/), real-time alerts

                      (https://www.nextraq.com/services/real-time-alerts/), sensors (https://www.nextraq.com/services/sensors/) and integration with

                      third party platforms, solutions and/or applications (https://www.nextraq.com/services/integration/);

              (b)     NexTraq®      View™      and   NexTraq®      Connect™      mobile    apps   which     are   used   by   mobile      work   force

                      (https://www.nextraq.com/services/mobile-apps/);

              (c)     NexTraq® Fleet Defender (https://www.nextraq.com/services/fleet-defender/) and NexTraq® Dashcam™

                      (https://www.nextraq.com/services/dashcam/) which are used for drive safety;


                                                                          1

                                                                                                                                        Exhibit D-1
                                                                                                                                       Page 1 of 58
                               Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 3 of 59

                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 10,397,789


               (d)     NexTraq® Driver ID, which is used for Automatic Driver Assignment (https://www.nextraq.com/services/automatic-driver-

                       assignment/)



NexTraq “Mobile Tracking Devices” and/or “Mobile Devices” means:

       The Accused Instrumentalities track the Assets, which are attached to or carried by mobile devices, including but not limited to:

               1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)

               2-Asset Trackers Family of products (e.g., AT-730, AT-5100)

               3-Trailer Trackers (e.g., TT-2830)

               4-GPS Tracking Devices (e.g., LMU26H201-NXT01)

               5-Other GPS and sensor, e.g., temperature sensor, equipped mobile devices.

        The analysis set forth below is based only upon information from publicly available resources regarding the Infringing Instrumentalities. An
analysis of NexTraq’s (or other third parties’) technical documentation, and/or software source code, may assist in fully identifying all infringing
features and functionality. Accordingly, PerDiemCo reserves the right to supplement this infringement analysis once such information is made available
to PerDiemCo. Furthermore, PerDiemCo reserves the right to revise this infringement analysis, as appropriate, upon issuance of a court order construing
any terms recited in the asserted claim.
         Unless otherwise noted, PerDiemCo alleges that NexTraq directly infringes the ‘789 patent in violation of 35 U.S.C. § 271(a) by selling, offering
to sell, making, using, and/or importing the Infringing Instrumentalities. The following exemplary analysis demonstrates that infringement. Unless
otherwise noted, PerDiemCo further contends that the evidence below supports a finding of indirect or contributory infringement under 35 U.S.C. §§
271(b) and/or (c), in conjunction with other evidence of liability under one or more of those subsections. NexTraq makes, uses, sells, imports, or offers
for sale in the United States, or has made, used, sold, imported, or offered for sale in the past, without authority, or induces others to make, use, sell,
import, or offer for sale in the United States, or has induced others to make, use, sell, import, or offer for sale in the past, without authority products,
equipment, or services that infringe claims the ‘789 patent, including without limitation, the Accused Instrumentalities.
                                                                             2

                                                                                                                                             Exhibit D-1
                                                                                                                                            Page 2 of 58
                               Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 4 of 59

                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 10,397,789


        Unless otherwise noted, PerDiemCo alleges that each element of each claim asserted herein is literally met through NexTraq’s provision of the
Accused Instrumentalities. However, to the extent that NexTraq attempts to allege that any asserted claim element is not literally met, PerDiemCo
believes and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation and analysis of the Infringing
Instrumentalities, PerDiemCo did not identify any substantial differences between the elements of the patent claim and the corresponding features of
the Infringing Instrumentalities, as set forth herein. In each instance, the identified feature of the Infringing Instrumentalities performs at least
substantially the same function in substantially the same way to achieve substantially the same result as the corresponding claim element.
         To the extent the chart of an asserted claim relies on evidence about certain specifically identified Accused Instrumentalities, PerDiemCo asserts
that, on information and belief, any similarly functioning instrumentalities also infringes the charted claim. PerDiemCo reserves the right to amend
this infringement analysis based on other products made, used, sold, imported, or offered for sale by NexTraq. PerDiemCo also reserves the right to
amend this infringement analysis by citing other claims of the ‘789 patent, not listed in the claim chart, that are infringed by the Accused
Instrumentalities. PerDiemCo further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying content in
the “Accused Instrumentalities” column of each chart.



 Claim     US Patent          Description of the Infringement
           10,397,789
 Indep A method for           NexTraq Fleet Tracking platform is a cloud-based solution for tracking assets using a standard Internet connection. On
   .   controlling            information and belief, the Accused Instrumentalities use applications, storage, on-demand services, computer networks,
 Cl. 1 conveyance of          including servers and databases or other resources that are accessed with the Internet connection through on-premise or
       event                  another provider's shared cloud computing framework, including servers and databases administered by third parties.
  1-p notifications           On information and belief, the Accused Instrumentalities use an access identity and management (IAM) services to
       based on a first       securely control access to S resources used by NexTraq’s cloud-based solution. More specifically, the Accused
       level of               Instrumentalities use the IAM to control who is authenticated (signed in) and authorized (has permissions) to use the
       administrative         resources.
       privileges used
       by a tracking
       service
       administrator of
       a tracking
       service provided
                                                                            3

                                                                                                                                            Exhibit D-1
                                                                                                                                           Page 3 of 58
                          Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 5 of 59

                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 10,397,789


Claim       US Patent      Description of the Infringement
           10,397,789
        over a first
        network of
        computing
        device to
        authorized users
        who track
        mobile devices
        identified in a
        database (DB)
        by mobile device
        IDs (DIDs),
        wherein the
        mobile devices
        are carried by
        corresponding
        carriers,          (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        including
        objects, vehicles,
        animals or
        persons
        identified by
        carrier IDs
        (CIDs) in groups
        identified by
        corresponding
        group IDs
        (GIDs) in the
        DB, the method
        comprising the
        steps of:
                                                                         4

                                                                                                    Exhibit D-1
                                                                                                   Page 4 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 6 of 59

                                                 PerDiemCo LLC v. NexTraq
                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                  U.S. Patent No. 10,397,789


Claim   US Patent    Description of the Infringement
        10,397,789
                     (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                     (Source: Page No. 4 of https://www.infotelligent.com/company/verizon-networkfleet/company/3485751 )

                     On information and belief, the Accused Instrumentalities currently use NexTraq’s tracking applications executed by
                     servers of a database management system (DBMS) constituting DBMS Applications (DBMSAs), including NexTraq®
                     Fleet Tracking applications (the Accused Applications), which rely on managed database services used in an on-premise
                     data warehouse solution.
                     On information and belief, NexTraq is re-platforming its Fleet Tracking platform so that the Accused Instrumentalities
                     would transition to using AWS native services such as AWS Relational Database Service (RDS), a managed database
                     service provided by AWS databases (DB) and AWS Redshift, Oracle, MS SQL, etc.




                                                                   5

                                                                                                                            Exhibit D-1
                                                                                                                           Page 5 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 7 of 59

                                                PerDiemCo LLC v. NexTraq
                                 PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                 U.S. Patent No. 10,397,789


Claim   US Patent    Description of the Infringement
        10,397,789




                     (Source: Page No. 1 of https://employzone.com/job-view/us-ga-atlanta/cloud-data-
                     engineer/dayforcehcm/9505416277?ez_source=alert&ez_campaign=daily-alert&ez_medium=azcs)

                                                               6

                                                                                                                Exhibit D-1
                                                                                                               Page 6 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 8 of 59

                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 10,397,789


Claim   US Patent    Description of the Infringement
        10,397,789
                     ---------------------------------------------------------------------------------------------------------------------------------------------
                     The Accused Instrumentalities provides a method for tracking locations of mobile objects/assets/vehicles. The mobile
                     objects/assets/vehicles carry mobile tracking devices/mobile devices identified by Hardware Ids that provide mobile
                     objects/assets/vehicles locations using wireless GPS location information sources.




                     (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                          7

                                                                                                                                               Exhibit D-1
                                                                                                                                              Page 7 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 9 of 59

                                                 PerDiemCo LLC v. NexTraq
                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                  U.S. Patent No. 10,397,789


Claim   US Patent    Description of the Infringement
        10,397,789




                     (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                                                  Mobile Devices Equipped with Location Information Sources
                     1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)
                     2-Asset Trackers Family of products (e.g., AT-730, AT-5100)
                     3-Trailer Trackers (e.g., TT-2830)
                     4-GPS Tracking Devices (e.g., LMU26H201-NXT01)




                     (Source: Page No. 27 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                     (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )
                                                                   8

                                                                                                                                Exhibit D-1
                                                                                                                               Page 8 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 10 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




                                                                      9

                                                                                                     Exhibit D-1
                                                                                                    Page 9 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 11 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789
                      (Source: Page No. 3 of https://www.nextraq.com/services/vehicle-tracking/ )




                      (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




                      (Source: Page No. 1 of https://www.ebay.com/itm/272838073110)


                                                                     10

                                                                                                      Exhibit D-1
                                                                                                    Page 10 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 12 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 1 of https://www.nextraq.com/services/asset-tracking/)




                      (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




                                                                     11

                                                                                                   Exhibit D-1
                                                                                                 Page 11 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 13 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




                      (Source: Page No. 3 of https://www.nextraq.com/services/asset-tracking/)




                                                                     12

                                                                                                   Exhibit D-1
                                                                                                 Page 12 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 14 of 59

                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 1 of https://www.ebay.com/itm/174395543130?chn=ps&norover=1&mkevt=1&mkrid=711-213727-13078-
                      0&mkcid=2&itemid=174395543130&targetid=4580359295528874&device=c&mktype=&googleloc=&poi=&campaignid=437
                      225724&mkgroupid=1228154759183859&rlsatarget=pla-
                      4580359295528874&abcId=9300907&merchantid=51291&msclkid=ac556c89a9351a832f4c0fa25eb06e08 )
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      As provider of the above identified tracking services, NexTraq (or an administrators employed by NexTraq) uses first
                      level of administrative privilege to control conveyance of event notifications, i.e., alerts.

                                                                            Event Notifications/Alerts




                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                                                                          13

                                                                                                                                               Exhibit D-1
                                                                                                                                             Page 13 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 15 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                                                                   14

                                                                                                                            Exhibit D-1
                                                                                                                          Page 14 of 58
Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 16 of 59

                            PerDiemCo LLC v. NexTraq
             PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                             U.S. Patent No. 10,397,789




 (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
                                               15

                                                                                                       Exhibit D-1
                                                                                                     Page 15 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 17 of 59

                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)
                      --------------------------------------------------------------------------------------------------------------------------------------------
                      As such, NexTraq provides tracking services over a first network of computing devices.




                                                                           16

                                                                                                                                                 Exhibit D-1
                                                                                                                                               Page 16 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 18 of 59

                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      --------------------------------------------------------------------------------------------------------------------------------------------
                      In this way, NexTraq provides access to data used by its authorized users who track the mobile devices carried by the
                      mobile objects/assets/vehicles.

                                                                    Authorized users identified by user IDs




                      (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)



                                                                          17

                                                                                                                                              Exhibit D-1
                                                                                                                                            Page 17 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 19 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                   18

                                                                                                  Exhibit D-1
                                                                                                Page 18 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 20 of 59

                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      --------------------------------------------------------------------------------------------------------------------------------------------
                      The mobile devices identified by hardware ids are carried by mobile objects/assets/vehicles which are identified bt
                      carrier IDs, VIN no.

                                                                    Mobile Objects/Assets identified by OIDs




                      (Source: Page No. 3 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)


                                                                           19

                                                                                                                                                 Exhibit D-1
                                                                                                                                               Page 19 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 21 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789
                      As subscribers of the services provided by the Accused Instrumentalities, the authorized users are employed by customers
                      of NexTraq in different customer groups. These customer groups are identified in the on-premise data warehouse or the
                      AWS database (DB) by corresponding group IDs (GIDs), such as company name, i.e., a group identification code.

                                                                Group identified by Group ID (GID)




                      (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 199 of http://www.alltrackusa.com/RTH_user_guide.pdf)



                                                                   20

                                                                                                                             Exhibit D-1
                                                                                                                           Page 20 of 58
                              Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 22 of 59

                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 10,397,789


Claim       US Patent          Description of the Infringement
            10,397,789
1-a     (a) using the first    See 1-p for tracking service, event notifications, a first network of computing device, first level of administrative
        level of               privileges, mobile devices, mobile device IDs (DIDs), carriers, carrier IDs (CIDs) groups, group IDs (GIDs), authorized
        administrative         users, DB, and DBMSA.
        privileges to
        provides access        NexTraq (or the administrator employed by NexTraq) uses first level of administrative privileges to provides access
        authorization to       authorization to user accounts served by the Accused Instrumentalities in response to received log in requests that contain
        user accounts of       IDs and passwords of the authorized users of the groups.
        the tracking
        service in                                                               Authorized user accounts
        response to
        received log in
        requests that
        contain IDs and
        passwords of the
        authorized users
        of the groups;




                                                                            21

                                                                                                                                         Exhibit D-1
                                                                                                                                       Page 21 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 23 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                   22

                                                                                                  Exhibit D-1
                                                                                                Page 22 of 58
                            Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 24 of 59

                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,397,789


Claim      US Patent         Description of the Infringement
           10,397,789




                             (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                             (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-b    (b) based on the     See 1-p for tracking service, event notifications, a first network of computing device, first level of administrative
        login requests,      privileges, mobile devices, mobile device IDs (DIDs), carriers, carrier IDs (CIDs) groups, group IDs (GIDs), authorized
        providing access     users, DB, and DBMSA.
        authorization to
        the user accounts    See 1-a for login request and user accounts.
        using a first
        database             Based on the login requests, access authorization is granted to user accounts served by the Accused Applications. The
        management           Accused Applications are executed on one or more central or distributed servers, including on-premise data warehouse
                                                                            23

                                                                                                                                   Exhibit D-1
                                                                                                                                 Page 23 of 58
                            Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 25 of 59

                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,397,789


Claim        US Patent       Description of the Infringement
            10,397,789
        system               or AWS, which are figured for performing functions based on multiple levels of administrative privileges, including the
        application          first level of administrative privilege used by NexTraq’s and second levels of administrative privileges used by
        (DBMSA)              NexTraq’s customers.
        executed on one
        or more central
        or distributed
        servers
        configured to use
        the DBMSA for
        performing
        functions based
        on multiple
        levels of
        administrative
        privileges
        including the
        first level of
        administrative
        privileges;
 1-c    (c) based on the     See 1-p for tracking service, event notifications, a first network of computing device, first level of administrative
        first level of       privileges, mobile devices, mobile device IDs (DIDs), carriers, carrier IDs (CIDs) groups, group IDs (GIDs), authorized
        administrative       users, DB, and DBMSA.
        privileges,
        giving a second      See 1-a for login request and user accounts.
        level of
        administrative       See 1-b for central or distributed servers and performing functions based on multiple levels of administrative privileges.
        privileges to
        perform group        NexTraq’s first level of administrative privileges is used to give a second level of administrative privileges to perform
        administrative       group administrative functions in a group identified by a GID at each customer level.
        functions in a
                                                                            24

                                                                                                                                      Exhibit D-1
                                                                                                                                    Page 24 of 58
                             Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 26 of 59

                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 10,397,789


Claim       US Patent         Description of the Infringement
           10,397,789
        group identified                           Second level of administrative privilege use for group administrative functions
        by a GID, which
        are not
        performed using
        the first level of
        administrative
        privileges,
                              (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )
        wherein
        members of the
        group include
        1) a group
        administrator     (Source: https://www.nextraq.com/terms-and-conditions/ )
        having a group
        administrator
        account who is
        authorized by the
        tracking service
        administrator to
        use the second
        level of
        administrative
        privileges and

        2) an authorized
        user in the group
        having a user         (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        account who is
        not authorized to
        use the second
                                                                            25

                                                                                                                                       Exhibit D-1
                                                                                                                                     Page 25 of 58
                         Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 27 of 59

                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,397,789


Claim       US Patent     Description of the Infringement
           10,397,789
        level of
        administrative
        privileges;


                          (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                          (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                          The functions performed by the group administrator at a customer’s level are not performed at system level by NexTraq
                          using its first level of administrative privileges.
                          The members of the group include
                              1) a group administrator having a group administrator account who is authorized by the tracking service
                                  administrator to use the second level of administrative privileges.

                                                                       26

                                                                                                                               Exhibit D-1
                                                                                                                             Page 26 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 28 of 59

                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789
                                                                                Group Administrator




                      (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )




                      (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: https://www.nextraq.com/terms-and-conditions/ )




                      (Source: Page No. 203 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                      ---------------------------------------------------------------------------------------------------------------------------------------------
                           2) an authorized user in the group having a user account who is not authorized to use the second level of
                               administrative privileges.




                                                                          27

                                                                                                                                               Exhibit D-1
                                                                                                                                             Page 27 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 29 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789
                      A user assigned “Account Administrator” role can be a group administrator authorized to perform administrative
                      functions associated with the second level of administrative privilege and another may not have the permission to perform
                      such functions.




                      (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                   28

                                                                                                                              Exhibit D-1
                                                                                                                            Page 28 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 30 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                   29

                                                                                                  Exhibit D-1
                                                                                                Page 29 of 58
                            Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 31 of 59

                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,397,789


Claim      US Patent         Description of the Infringement
           10,397,789




                             (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-d    (d) providing        See 1-p for tracking service, event notifications, a first network of computing device, first level of administrative
        access               privileges, mobile devices, mobile device IDs (DIDs), carriers, carrier IDs (CIDs) groups, group IDs (GIDs), authorized
        authorization to     users, DB, and DBMSA.
        the administrator
        account before       See 1-a for login request and user accounts.
        performing the
        group                See 1-b for central or distributed servers and performing functions based on multiple levels of administrative privileges.
        administrative
        functions using      See 1-c for second level of administrative privileges, group administrator, group administrator account and group
        the second level     administrative functions.
        of administrative
        privileges;          Access authorization is provided to the administrator account before performing the group administrative functions using
                             the second level of administrative privileges.

                                                                        Access to authorized user accounts




                             (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                                                                            30

                                                                                                                                      Exhibit D-1
                                                                                                                                    Page 30 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 32 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )




                      (Source: https://www.nextraq.com/terms-and-conditions/ )




                      (Source: Page No. 203 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                    31

                                                                                                  Exhibit D-1
                                                                                                Page 31 of 58
                           Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 33 of 59

                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,397,789


Claim     US Patent         Description of the Infringement
          10,397,789




                            (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                            (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-e    (e) interfacing     See 1-p for tracking service, event notifications, a first network of computing device, first level of administrative
        over one or more    privileges, mobile devices, mobile device IDs (DIDs), carriers, carrier IDs (CIDs) groups, group IDs (GIDs), authorized
                            users, DB, and DBMSA.
                                                                         32

                                                                                                                                  Exhibit D-1
                                                                                                                                Page 32 of 58
                            Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 34 of 59

                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,397,789


Claim        US Patent       Description of the Infringement
            10,397,789
        wireless
        networks with        See 1-a for login request and user accounts.
        1) a first mobile
        device identified    See 1-b for central or distributed servers and performing functions based on multiple levels of administrative privileges.
        by a first DID to
        receive a first      See 1-c for second level of administrative privileges, group administrator, group administrator account and group
        location             administrative functions.
        information
        comprising           See 1-d for access authorization to the administrator account.
        information
        indicating           Interface over wireless networks with mobile devices, i.e., a first and a second mobile device, having corresponding
        1) locations of a    DIDs is used for locating identified mobile devices carried by objects/assets/vehicles and movements of the
        first carrier of     objects/assets/vehicles.
        the first mobile
        device having a
        first CID and
        2) a first
        movement by the
        first carrier and

        2) a second
        mobile device
        identified by a
        second DID to
        receive a second
        information
        comprising
        information
        indicating
                             (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                                                                            33

                                                                                                                                      Exhibit D-1
                                                                                                                                    Page 33 of 58
                         Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 35 of 59

                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 10,397,789


Claim        US Patent    Description of the Infringement
            10,397,789
        1) locations of a
        second carrier of                                                      Asset Locations
        the second
        mobile device
        having a second
        CID and
        ii) a second
        movement by the
        second carrier;   (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )
        and




                           (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                        34

                                                                                                                                      Exhibit D-1
                                                                                                                                    Page 34 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 36 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                   35

                                                                                                 Exhibit D-1
                                                                                               Page 35 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 37 of 59

                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789
                      (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      Information is received indicating movements of the objects/assets/vehicles.

                                                                                   Asset Movement




                      (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                           36

                                                                                                                                                 Exhibit D-1
                                                                                                                                               Page 36 of 58
                            Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 38 of 59

                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,397,789


Claim      US Patent         Description of the Infringement
           10,397,789
                             (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                             (Source: Page No. 32 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-f    (f) interfacing      See 1-p for tracking service, event notifications, a first network of computing device, first level of administrative
        over the first       privileges, mobile devices, mobile device IDs (DIDs), carriers, carrier IDs (CIDs) groups, group IDs (GIDs), authorized
        network with         users, DB, and DBMSA.
        one or more
        computing            See 1-a for login request and user accounts.
        devices to enable
        the group            See 1-b for central or distributed servers and performing functions based on multiple levels of administrative privileges.
        administrator to
        log into the         See 1-c for second level of administrative privileges, group administrator, log into group administrator account and group
        administrator        administrative functions.
        account to
        perform the          See 1-d for access authorization to the administrator account.
        group
        administrative       See 1-e for wireless networks, carrier locations and carrier movements.

                                                                            37

                                                                                                                                      Exhibit D-1
                                                                                                                                    Page 37 of 58
                              Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 39 of 59

                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 10,397,789


Claim        US Patent         Description of the Infringement
            10,397,789
        functions,
        including:             The group administrator uses a computing device to log into the administrator account to perform the group
        i) setting a zone      administrative functions.
        identified by a
        zone ID (ZID)          The group administrative functions include:
        for the group,         1: setting a zone identified by a zone ID (ZID) for the group, wherein a location of the zone is independent of the locations
        wherein a              of the first carrier or the second carrier.
        location of the
        zone is
        independent of
        the locations of
        the first carrier
        or the second
        carrier,
        ii) setting a first
                               (Source: Page No. 177 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        event condition
        for a first group
        event that occurs
        if it is
        determined that
        the first event
        condition is met
        based on the
        locations of the
        first carrier or
        the second
        carrier within or
        relative to the
        zone,

                                                                             38

                                                                                                                                          Exhibit D-1
                                                                                                                                        Page 38 of 58
                            Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 40 of 59

                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,397,789


Claim        US Patent       Description of the Infringement
            10,397,789
        iii) setting a
        second event
        condition for a
        second group
        event that occurs
        if it is
        determined that
        the second group
        event condition
        is met based on
        the first
        movement or the
        second
        movement, and
        iv) specifying an
        access list
        comprising one
        or more IDs that
        identify one or      (Source: Page No. 177 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        more recipients
        including the
        authorized user
        of the group who
        are authorized to
                             (Source: Page No. 178 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        access event
        notifications
        whenever the
        first group event
        or the second

                                                                          39

                                                                                                         Exhibit D-1
                                                                                                       Page 39 of 58
                        Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 41 of 59

                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 10,397,789


Claim      US Patent     Description of the Infringement
           10,397,789
        group event
        occurs; and




                         (Source: Page No. 178 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                         ---------------------------------------------------------------------------------------------------------------------------------------------
                         2: Setting a first event condition, geo-fence entry or exit, for a first group event that occurs if it is determined that the
                         first event condition, such as arrival or departure is met based on the locations of the first carrier or the second carrier
                         within or relative to the zone,




                                                                             40

                                                                                                                                                  Exhibit D-1
                                                                                                                                                Page 40 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 42 of 59

                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)




                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      3: Setting a second event condition, i.e., movement/stop or speed, for a second group event that occurs if it is determined
                      that the second group event condition is met based on the first movement or the second movement,



                                                                          41

                                                                                                                                               Exhibit D-1
                                                                                                                                             Page 41 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 43 of 59

                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      4: Specifying an access list comprising one or more IDs that identify one or more recipients including the authorized
                      user of the group who are authorized to access event notifications in the form of alerts whenever the first group event,
                      such as arrivals and departures or the second group event, such as movement/stop or speed occurs.
                                                                                       Access List




                                                                          42

                                                                                                                                               Exhibit D-1
                                                                                                                                             Page 42 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 44 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                   43

                                                                                                                            Exhibit D-1
                                                                                                                          Page 43 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 45 of 59

                                                 PerDiemCo LLC v. NexTraq
                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                  U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                      (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
                                                                  44

                                                                                                                            Exhibit D-1
                                                                                                                          Page 44 of 58
                            Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 46 of 59

                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,397,789


Claim      US Patent         Description of the Infringement
           10,397,789




                             (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-g    (g) giving access    See 1-p for tracking service, event notifications, a first network of computing device, first level of administrative
        to the event         privileges, mobile devices, mobile device IDs (DIDs), carriers, carrier IDs (CIDs) groups, group IDs (GIDs), authorized
        notifications        users, DB, and DBMSA.
        based on the
        access list.         See 1-a for login request and user accounts.

                             See 1-b for central or distributed servers and performing functions based on multiple levels of administrative privileges.

                             See 1-c for second level of administrative privileges, group administrator, log into group administrator account and group
                             administrative functions.
                                                                            45

                                                                                                                                      Exhibit D-1
                                                                                                                                    Page 45 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 47 of 59

                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789

                      See 1-d for access authorization to the administrator account.

                      See 1-e for wireless networks, carrier locations and carrier movements.

                      See 1-f for zone identified by a zone ID (ZID), a first event condition, a second event condition and an access list.

                      Access is given to the event notifications in the form of alerts based on the access list.




                      (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                      (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                                                                    46

                                                                                                                                Exhibit D-1
                                                                                                                              Page 46 of 58
                     Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 48 of 59

                                                 PerDiemCo LLC v. NexTraq
                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                  U.S. Patent No. 10,397,789


Claim   US Patent     Description of the Infringement
        10,397,789




                                                            47

                                                                                              Exhibit D-1
                                                                                            Page 47 of 58
                           Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 49 of 59

                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,397,789


Claim      US Patent        Description of the Infringement
           10,397,789
                            (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                            (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
12-p.   A method for        See. 1p
        controlling
        conveyance of
        event
        notifications
        based on a first
        level of
        administrative
        privileges used
                                                                         48

                                                                                                                                  Exhibit D-1
                                                                                                                                Page 48 of 58
                        Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 50 of 59

                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,397,789


Claim       US Patent     Description of the Infringement
            10,397,789
        by a tracking
        service
        administrator of
        a tracking
        service provided
        over a first
        network of
        computing
        device to
        authorized users
        who track
        mobile devices
        identified in a
        database (DB)
        by mobile device
        IDs (DIDs),
        wherein the
        mobile devices
        are carried by
        corresponding
        carriers,
        including
        objects, vehicles
        or persons
        identified by
        carrier IDs
        (CIDs) in groups
        identified by
        corresponding
        group IDs
                                                                49

                                                                                                  Exhibit D-1
                                                                                                Page 49 of 58
                         Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 51 of 59

                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,397,789


Claim       US Patent     Description of the Infringement
           10,397,789
        (GIDs) in the
        DB, the method
        comprising the
        steps of:

12-a    using the first   See. 1a
        level of
        administrative
        privileges to
        provide access
        authorization to
        user accounts of
        the tracking
        service in
        response to
        received log in
        requests that
        contain IDs and
        passwords of the
        authorized users
        of the groups;
12-b    based on the      See. 1b
        login requests,
        providing access
        authorization to
        the user accounts
        using a first
        database
        management
        system
                                                                50

                                                                                                  Exhibit D-1
                                                                                                Page 50 of 58
                         Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 52 of 59

                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,397,789


Claim        US Patent     Description of the Infringement
            10,397,789
        application
        (DBMSA)
        executed on one
        or more central
        or distributed
        servers
        configured to use
        the DBMSA for
        performing
        functions based
        on multiple
        levels of
        administrative
        privileges,
        including the
        first level of
        administrative
        privileges;
12-c    based on the first See. 1c
        level of
        administrative
        privileges,
        giving a second
        level of
        administrative
        privileges to
        perform group
        administrative
        functions in a
        group identified
                                                                 51

                                                                                                   Exhibit D-1
                                                                                                 Page 51 of 58
                         Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 53 of 59

                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,397,789


Claim       US Patent      Description of the Infringement
           10,397,789
        by a GID, which
        are not
        performed using
        the first level of
        administrative
        privileges,
        wherein
        members of the
        group include 1)
        a group
        administrator
        having a group
        administrator
        account who is
        authorized by the
        tracking service
        administrator to
        use the second
        level of
        administrative
        privileges and 2)
        an authorized
        user in the group
        having a user
        account who is
        not authorized to
        use the second
        level of
        administrative
        privileges;
                                                                 52

                                                                                                   Exhibit D-1
                                                                                                 Page 52 of 58
                            Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 54 of 59

                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,397,789


Claim       US Patent        Description of the Infringement
           10,397,789
12-d    providing access     See. 1d
        authorization to
        the administrator
        account before
        performing the
        group
        administrative
        functions using
        the second level
        of administrative
        privileges;

12-e    (e) interfacing      See. 1e
        over one or more
        wireless
        networks with 1)
        a first mobile
        device identified
        by a first DID to
        receive a first
        location
        information
        comprising
        information
        indicating
        locations of a
        first carrier of
        the first mobile
        device having a
        first CID and 2)
                                                                   53

                                                                                                     Exhibit D-1
                                                                                                   Page 53 of 58
                            Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 55 of 59

                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 10,397,789


Claim       US Patent        Description of the Infringement
            10,397,789
        a second mobile
        device identified
        by a second DID
        to receive a
        second
        information
        comprising
        information
        indicating
        locations of a
        second carrier of
        the second
        mobile device
        having a second
        CID; and

12-f    interfacing over  See. 1f
        the first network
        with one or more
        computing
        devices to enable
        the group
        administrator to
        log into the
        administrator
        account to
        perform the
        group
        administrative
        functions,
                                                                   54

                                                                                                     Exhibit D-1
                                                                                                   Page 54 of 58
                         Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 56 of 59

                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,397,789


Claim        US Patent     Description of the Infringement
            10,397,789
        including: i)
        setting a zone for
        occurrence of a
        first group event
        that occurs based
        on the locations
        of the first
        carrier or the
        second carrier
        within or relative
        to the zone, iii)
        specifying an
        access list
        comprising one
        or more IDs that
        identify one or
        more recipients
        including the
        authorized user
        of the group who
        are authorized to
        access event
        notifications
        whenever the
        first group event
        occurs; and
12-g    giving access to See. 1g
        the event
        notification

                                                                 55

                                                                                                   Exhibit D-1
                                                                                                 Page 55 of 58
                         Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 57 of 59

                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,397,789


Claim      US Patent       Description of the Infringement
           10,397,789
        based on the
        access list.

 14     The method of      Accused applications interface with fleet tracking platform, which receives temperature information from temperature
        claim 12 further sensors.
        comprising the
        steps of 1)
        receiving an
        information
        package
        including a
        temperature,
        humidity, heart
        rate, motion,
        speed, image,
        video or multi-
        media file that is
        incorporated into
        the information
        package from the
        first mobile
        device or the
        second mobile
        device after it is
        determined that
        the group
        administrator or (Source: Page No. 2 of https://www.nextraq.com/services/sensors/)
        the authorized
        user is within the
        zone and 2)
                                                                      56

                                                                                                                               Exhibit D-1
                                                                                                                             Page 56 of 58
                               Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 58 of 59

                                                            PerDiemCo LLC v. NexTraq
                                             PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                             U.S. Patent No. 10,397,789


Claim       US Patent           Description of the Infringement
            10,397,789
        providing access
        to the
        information
        package.

 16     The method of
        claim 12,
        wherein the first
        group event
        occurs based on
        a proximity of
        the first carrier to
        the second
        carrier within the
        zone.




                                (Source: Page No. 33 of https://www.nextraq.com/services/sensors/)




                                (Source: Page No. 34 of https://www.nextraq.com/services/sensors/)
                                                                              57

                                                                                                         Exhibit D-1
                                                                                                       Page 57 of 58
                             Case 1:23-mi-99999-UNA Document 124-8 Filed 01/13/23 Page 59 of 59

                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,397,789


 Claim      US Patent        Description of the Infringement
            10,397,789




                             (Source: Page No. 34 of https://www.nextraq.com/services/sensors/)


Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in any manner.
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                                                                           58

                                                                                                                                       Exhibit D-1
                                                                                                                                     Page 58 of 58
